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HALPER SADEH LLP
Zachary Halper, Esq.
186 Darwin Lane
North Brunswick, NJ 08902
Tel: (212) 763-0060
Fax: (646) 776-2600
Email: zhalper@halpersadeh.com

Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

    JOSH SHIREY,                                      Case No: 2:21-cv-10698-JMV-AME

         Plaintiff,
                                                      NOTICE OF VOLUNTARY
         v.                                           DISMISSAL PURSUANT TO FED. R.
                                                      CIV. P. 41(a)(1)(A)(i)
    COHERENT, INC., GARRY ROGERSON,
    ANDY MATTES, JAY T. FLATLEY,
    PAMELA FLETCHER, BEVERLY KAY
    MATTHEWS, MICHAEL MCMULLEN,
    STEVE SKAGGS, and SANDEEP VIJ,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Josh Shirey hereby voluntarily dismisses the above-captioned action.

Defendants have not served an answer or a motion for summary judgment.

Dated: August 2, 2021                             Respectfully submitted,

                                                  HALPER SADEH LLP

                                                  /s/ Zachary Halper
                                                  Zachary Halper, Esq.
                                                  186 Darwin Lane
                                                  North Brunswick, NJ 08902
                                                  Telephone: (212) 763-0060
                                                  Facsimile: (646) 776-2600
                                                  Email: zhalper@halpersadeh.com

                                                  Counsel for Plaintiff

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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2021, a true and correct copy of the foregoing document
was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                                    /s/ Zachary Halper
                                                    Zachary Halper




       8/3/2021




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